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                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                           PORTLAND DIVISION


  JENNIFER JOY FREYD,                                             Case No.: 6:17-cv-448-MC

                                           Plaintiff,
                                                                  DEFENDANTS UNIVERSITY OF
             v.                                                   OREGON AND HAL SADOFSKY'S
                                                                  RESPONSE TO PLAINTIFF'S
  UNIVERSITY OF OREGON,MICHAEL H.                                 NOTICE OF SUPPLEMENTAL
  SCHILL and HAL SADOFSKY,                                        AUTHORITY

                                       Defendants.



             Defendants University of Oregon and Hal Sadofsky file this Response to Plaintiff's Notice

  of Supplemental Authority. Plaintiff argues that this court should assume how the Ninth Circuit

  will rule in Rizo v. Yovino, which was recently vacated by the U.S. Supreme Court. Rizo v. Yovino,

  887 F.3d 453 (9th Cir. 2018); Yovino v. Rizo, 586 U.S.                    No.18-227(Feb. 25, 2019).

             As an initial matter, Rizo v. Yovino is still not relevant to this case. The dispute there was

  about whether an employer could use a job candidate's old salary to set a salary if hired. That is




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   not at issue in this case and in any event, at the time plaintiff was hired, 1987,1 the law was to the

   contrary. Kouba v. Allstate Ins. Co., 691 F.2d 873, 878 (9th Cir. 1982).

             Further, when the Court vacated Rizo v. Yovino, the result was to "to nullify or cancel; to

   make void." Massachi v. Astrue, 486 F.3d 1149, 1154 n. 21 (9th Cir 2007). There is no

   precedential effect. United States v. Gonzales, 749 F.2d 1329, 1337 (9th Cir. 1984); Kindred v.

   W. Transp. Co., Civil Action No. 77-606., 1980 U.S. Dist. LEXIS 14196, at *6 n. 2(D. Or. Aug.

   19, 1980), and the vacated opinion lacks persuasive authority. Massachi,486 F.3d at 1154 (a

   vacated decision no longer exists); Kuahulu v. Emp'rs Ins. of Wausau, 557 F.2d 1334, 1337(9th

   Cir. 1977)(vacating erases any precedential effect).

             Plaintiffs Notice of Supplemental Authority summarizes the vacated opinion and argues

   that it was correctly decided and unlikely to change on reconsideration. That is a theory; it is not

   the presentation of a supplemental authority. It also ignores the law cited above and the fact that

  "a judge may change his or her position up to the very moment when a decision is released."

   Yovino v. Rizo, 203 L.Ed.2d 38,40(2019).



             DATED this 18th day of March,2019.


                                                        BARRAN LIEBMAN LLP


                                                                s/Paula A. Barran
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  1 Freyd Decl. ECF 72, at ¶ 3.
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                                   CERTIFICATE OF SERVICE

             I hereby certify that on the 18th day of March, 2019, I served the foregoing

   DEFENDANTS UNIVERSITY OF OREGON AND HAL SADOFSKY'S RESPONSE TO

   PLAINTIFF'S NOTICE OF SUPPLEMENTAL AUTHORITY on the following parties at the

   following addresses:

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  by the following indicated method or methods set forth below:

             •     Electronic Filing using the Court's ECF System

             ❑    First-class mail, postage prepaid

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                                                      s/Paula A. Barran

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